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                               ORDERED.


Dated: April 09, 2018




                          UNITED STATES BANKRUPTCY COURT
                            MIDDLE DISTRICT OF FLORIDA
                                 ORLANDO DIVISION
                                 www.flmb.uscourts.gov

In re                                        )
                                             )
CATHERINE ECKLEY BENTLEY,                    )       Case No. 6:17-bk-00294-KSJ
                                             )       Chapter 7
             Debtor.                         )
                                             )
                                             )
SUSAN KOLB, M.D.,                            )
                                             )
             Plaintiff,                      )
                                             )
vs.                                          )       Adversary No. 6:17-ap-00047-KSJ
                                             )
CATHERINE ECKLEY BENTLEY,                    )
                                             )
             Defendant.                      )
                                             )
                                             )
ROBERT E. THOMAS,                           )
                                            )
             Plaintiff,                     )
vs.                                         )
                                            )        Adversary No. 6:17-ap-00048-KSJ
CATHERINE ECKLEY BENTLEY,                   )
                                            )
             Defendant.                     )
                                            )
                                            )
                                            )
SUSAN KOLB, M.D.,                           )




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                Plaintiff,                        )
vs.                                               )
                                                  )           Adversary No. 6:17-ap-00119-KSJ
CATHERINE ECKLEY BENTLEY,                         )
                                                  )
                Defendant.                        )



             ORDER GRANTING DEBTOR’S MOTION TO CONTINUE TRIAL

        This case came on for hearing on April 9, 2018, for a pretrial conference. After reviewing

the pleadings and considering the position of all parties in interest, it is

        ORDERED:

        1.      Order Abating Motion to Reschedule Hearing (Doc. No. 43) is VACATED.

        2.      Debtor’s Motion to Continue Trial (Doc. No. 42) is GRANTED.

        3.      A pretrial conference is scheduled for 2:00 p.m. on June 12, 2018, at the United

                States Bankruptcy Court, Sixth Floor, Courtroom A, 400 West Washington Street,

                Orlando, Florida 32801.

        4.      Trial is scheduled for 10:00 a.m. on August 2, 2018 – August 3, 2018, at the

                United States Bankruptcy Court, Sixth Floor, Courtroom A, 400 West

                Washington Street, Orlando, Florida 32801.

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The Clerk is directed to serve a copy of this order on all interested




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